 Case: 4:17-cv-02367-AGF Doc. #: 67 Filed: 05/09/18 Page: 1 of 3 PageID #: 660



                     IN THE UNITED STATES DISTRICT COURT FOR
                         THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

A.L.L. CONSTRUCTION, LLC,                           )
                                                    )
       Plaintiff,                                   )
                                                    )     Case No: 4:17-CV-02367-AGF
v.                                                  )
                                                    )     JURY TRIAL DEMANDED
THE METROPOLITAN ST. LOUIS                          )
SEWER DISTRICT, JAMES FAUL, RUBY                    )
BONNER, REV. RONALD BOBO,                           )
MICHAEL YATES, and JAMES I. SINGER,                 )
in their individual capacities as the Board of      )
Trustees of the Metropolitan St. Louis Sewer        )
District,                                           )
                                                    )
       Defendants.                                  )


 DEFENDANTS JAMES FAUL, RUBY BONNER, REV. RONALD BOBO, MICHAEL
YATES, AND JAMES I. SINGER’S MOTION FOR LEAVE TO EXCEED PAGE LIMIT
 IN THEIR MEMORANDUM IN SUPPORT OF THEIR MOTION FOR SUMMARY
             JUDGMENT ADDRESSING QUALIFIED IMMUNITY

       COME NOW Defendants, James Faul, Ruby Bonner, Rev. Ronald Bobo, Michael Yates,

and James I. Singer, pursuant to Rule 7-4.01(D) of the Local Rules for the United States District

Court for the Eastern District of Missouri, and for its Motion for Leave to Exceed the Page Limit

states as follows:

       1.      This Court’s scheduling order has required the filing of all qualified immunity

motions by May 11, 2018.

       2.      This Court’s Local Rule 7-4.01(D) states that “No party shall file any motion,

memorandum or brief which exceeds fifteen (15) numbered pages, exclusive of the signature

page and attachments, without leave of Court.”




                                                 1 of 3
 Case: 4:17-cv-02367-AGF Doc. #: 67 Filed: 05/09/18 Page: 2 of 3 PageID #: 661



          3.    Due to the number and complexity of the legal issues implicated by the qualified

immunity analysis, these Defendants expect that their Memorandum in Support of Their Motion

will need to exceed fifteen pages (15) but is unlikely to exceed twenty (20) pages in length.

          4.    Defendants have made good faith efforts to contain the length of their briefing

within the limitations set out in Rule 7-4.01(D) but have been unsuccessful in doing so.

          5.    Moreover, exceeding the page limit was not done for any improper purpose or to

burden the parties or this court.

          6.    Rather, Defendants request leave to exceed the page limit for reasons stated

herein.

          7.    Plaintiff will not be prejudiced by allowing these Defendants to submit briefing in

excess of the Rule’s default fifteen (15) page limit.

          WHEREFORE, Defendants Metropolitan St. Louis Sewer District Trustees James Faul,

Ruby Bonner, Rev. Ronald Bobo, Michael Yates, and James I. Singer pray this Court grant them

leave to file their Memorandum in Support of Their Motion for Summary Judgment in excess of

this Court’s fifteen page limit, and for such other and further relief as this Court deems just and

proper under the circumstances.


                                              RYNEARSON SUESS SCHNURBUSCH
                                              CHAMPION, LLC.

                                       BY:    /s/ Victor H. Essen, II
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                                               2 of 3
 Case: 4:17-cv-02367-AGF Doc. #: 67 Filed: 05/09/18 Page: 3 of 3 PageID #: 662




                              CERTIFICATE OF SERVICE

        The undersigned certifies that a true copy of the foregoing was sent via the Court’s
electronic filing system on this 9th day of May, 2018 to:

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                                           3 of 3
